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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
ALEXANDRIA DIVISION

 

Master File No. 1:17-cv-1338-AJT-JFA

IN RE WILLIS TOWERS WATSON PLC

PROXY LITIGATION CLASS ACTION

 

 

JUDGMENT APPROVING CLASS ACTION SETTLEMENT

WHEREAS, a securities class action is pending in this Court styled In re Willis Towers
Watson plc Proxy Litigation, Master File No. 1:17-cv-1338-AJT-JFA (E.D. Va.) (the “‘Action”’);

WHEREAS, (a) Lead Plaintiff The Regents of the University of California (“Lead
Plaintiff’), on behalf of itself and the Class (defined below), and (b) defendants Willis Towers
Watson plc (“WTW”), Towers Watson & Co. (“Towers”) (n/k/a WTW Delaware Holdings LLC),
Willis Group Holdings ple (“Willis”) (n/k/a Willis Towers Watson plc), and ValueAct Capital
Management, L.P. (“ValueAct”) (collectively, the “Corporate Defendants”), and John J. Haley,
Dominic Casserley, and Jeffrey Ubben (collectively, the “Individual Defendants,” together with
the Corporate Defendants, “Defendants,” and, together with Lead Plaintiff, the “Parties”) have
entered into a Stipulation and Agreement of Settlement dated January 15, 2021 (the “Stipulation’”),
that provides for a complete dismissal with prejudice of the claims asserted against Defendants in
the Action on the terms and conditions set forth in the Stipulation, subject to the approval of this
Court (the “Settlement’);

WHEREAS, unless otherwise defined in this Judgment, the capitalized terms herein shall
have the same meaning as they have in the Stipulation;

WHEREAS, by Order dated January 21, 2021 (the “Preliminary Approval Order”), this

Court: (a) found, pursuant to Rule 23(e)(1)(B) of the Federal Rules of Civil Procedure, that it
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would likely be able to approve the Settlement as fair, reasonable, and adequate under Rule
23(e)(2); (b) ordered that notice of the proposed Settlement be provided to potential Class
Members; (c) provided Class Members with the opportunity either to exclude themselves from the
Class or to object to the proposed Settlement; and (d) scheduled a hearing regarding final approval
of the Settlement;

WHEREAS, duc and adequate notice has been given to the Class;

WHEREAS, the Court conducted a hearing on May 21, 2021 (the “Settlement Hearing”)
to consider, among other things, (a) whether the terms and conditions of the Settlement are fair,
reasonable, and adequate to the Class, and should therefore be approved; and (b) whether a
judgment should be entered dismissing the Action with prejudice as against the Defendants; and

WHEREAS, the Court having reviewed and considered the Stipulation, all papers filed and
proceedings held herein in connection with the Settlement, all oral and written comments received
regarding the Settlement, and the record in the Action, and good cause appearing therefor;

IT IS HEREBY ORDERED, ADJUDGED AND DECREED:

1. Jurisdiction — The Court has jurisdiction over the subject matter of the Action, and
all matters relating to the Settlement, as well as personal jurisdiction over all of the Partics and
each of the Class Members.

2. Incorporation of Settlement Documents — This Judgment incorporates and makes
a part hereof: the Stipulation and the Notice and the Summary Notice, each of which was filed
with the Court on January 15, 2021.

3. The Certified Class — The “Class” means the class certified in the Court’s order
dated September 4, 2020, as modified by the Court’s order dated November 4, 2020, and includes:

all persons and entities that were Towers shareholders, including shareholders of record and
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beneficial owners, as of both October 1, 2015, the record date for Towers shareholders to be
eligible to vote on the Merger of Towers and Willis, and January 4, 2016, the date the Merger
transaction between Towers and Willis closed, and who were allegedly damaged thereby.
Excluded from the Class by definition are: Defendants; the members of the Immediate Family of
any Individual Defendant; any person who was an Officer or director of WTW, Willis, Towers, or
ValucAct as of October 1, 2015; any firm, trust, corporation, or other entity in which any
Defendant has or had a controlling interest; any employee retirement and benefit plans of WTW,
Willis, Towers, or ValueAct; Defendants’ directors’ and officers’ liability insurance carriers and
any affiliates or subsidiaries of those carriers; any Towers shareholder that completed the exercise
of his, her, or its right to appraisal of his, her or its shares under Delaware law, including through
a settlement of any litigation initiated by any former Towers shareholder to pursuc appraisal rights
related to the Merger; and the legal representatives, agents, affiliates, hcirs, successors-in-interest,
or assigns of any of the foregoing excluded parties. To be a Class Member, a person or entity does
not need to have held all the Towers shares that he, she, or it owned on October 1, 2015 until
January 4, 2016. He, she, or it need only have continued to own at least some of that Towers
common stock that he, she, or it held on October 1, 2015 as of January 4, 2016. A person or entity
is excluded from the Class if he, she, or it sold all of his, her, or its Towers shares before January
4, 2016. Any of a Class Member’s shares which were sold between October 1, 2015 and January
4, 2016 will be excluded from that Class Member’s pro rata recovery in the Settlement, and if a
Class Member held more Towers shares on January 4, 2016 than he, she, or it held on October 1,
2015, then only the shares held on October 1, 2015 will be eligible for recovery in the Settlement.
Also excluded from the Class is the person listed on Exhibit 1 to this Judgment who is excluded

from the Class pursuant to request.
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4. Notice — The Court finds that the dissemination of the Notice and the publication
of the Summary Notice: (a) were implemented in accordance with the Preliminary Approval
Order; (b) constituted the best notice practicable under the circumstances; (c) constituted notice
that was reasonably calculated, under the circumstances, to apprise Class Members of (i) the
pendency of the Action; (ii) the effect of the proposed Settlement (including the Releases to be
provided thereunder); (iii) Lead Counsel’s motion for attorneys’ fees and Litigation Expenses;
(iv) their right to object to any aspect of the Settlement, the Plan of Allocation, and/or Lead
Counsel’s motion for attorneys’ fees and Litigation Expenses; (v) their right to exclude themselves
from the Class; and (vi) their right to appear at the Settlement Hearing; (d) constituted due,
adequate, and sufficient notice to all persons and entities entitled to receive notice of the proposed
Settlement; and (e) satisfied the requirements of Rule 23 of the Federal Rules of Civil Procedure,
the United States Constitution (including the Due Process Clause), the Private Securities Litigation
Reform Act of 1995, 15 U.S.C. § 78u-4, as amended, and all other applicable laws and rules.

5. Final Settlement Approval and Dismissal of Claims — Pursuant to, and in
accordance with, Rule 23(e)(2) of the Federal Rules of Civil Procedure, this Court hereby fully
and finally approves the Settlement set forth in the Stipulation in all respects (including, without
limitation, the amount of the Settlement, the Releases provided for therein, and the dismissal with
prejudice of the claims asserted against Defendants in the Action), and finds that the Settlement is,
in all respects, fair, reasonable, and adequate to the Class. Specifically, the Court finds that
(a) Lead Plaintiff and Lead Counsel have adequately represented the Class; (b) the Settlement was
negotiated by the Parties at arm’s-length; (c) the relief provided to the Class under the Settlement
is adequate, taking into account the costs, risks, and delay of trial and appeal, the proposed means

of distributing the Settlement Fund to the Class, and the proposed attorneys’ fee award; and (d) the
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Settlement treats members of the Class equitably relative to each other. The Parties are directed
to implement, perform, and consummate the Settlement in accordance with the terms and
provisions contained in the Stipulation.

6. Defendants have complied with the Class Action Fairness Act of 2005 (“CAFA”),
28 U.S.C. § 1715, et seq. Defendants timely mailed notice of the Settlement pursuant to 28 U.S.C.
§ 1715(b), including notices to the Attorney General of the United States of America, and the
Attorneys General of each State. The CAFA notice contains the documents and information
required by 28 U.S.C. § 1715(b)(1)-(8). The Court finds that Defendants have complied in all
respects with the requirements of 28 U.S.C. § 1715.

7. The Action and all of the claims asserted against Defendants in the Action by Lead
Plaintiff and the other Class Members are hereby dismissed. Upon the Effective Date of the
Settlement, without further action by anyone, this dismissal shall be with prejudice. The Parties
shall each bear their own costs and expenses, except as otherwise expressly provided in the
Stipulation.

8. Binding Effect — The terms of the Stipulation and of this Judgment shall be forever
binding on Defendants, Lead Plaintiff, and all other Class Members (regardless of whether or not
any individual Class Member submits a Claim Form or seeks or obtains a distribution from the
Net Settlement Fund), as well as their respective successors and assigns. The person listed on
Exhibit 1 hereto is excluded from the Class pursuant to request and is not bound by the terms of
the Stipulation or this Judgment.

9. Releases — The Releases set forth in paragraphs 5 and 6 of the Stipulation, together

with the definitions contained in paragraph | of the Stipulation relating thereto, are expressly
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incorporated herein in all respects. The Releases are effective as of the Effective Date.
Accordingly, this Court orders that:

(a) Without further action by anyone, and subject to paragraph 10 below, upon
the Effective Date of the Settlement, Lead Plaintiff and each of the other Class Members, on behalf
of themselves, and their respective legal representatives, heirs, executors, administrators, estates,
predecessors, successors, predecessors-in-intcrest, successors-in-interest, and assigns, and any
person or entity acting for or on behalf of, or claiming under, any of them, and cach of them, in
their respective capacities as such, shall be deemed to have, and by operation of law and of this
Judgment shall have, fully, finally, and forever compromised, settled, released, resolved,
relinquished, waived, and discharged cach and every Released Plaintiffs’ Claim against
Defendants and the Defendants’ Releasees, and shall forever be barred and enjoined from
prosecuting any or all of the Released Plaintiffs’ Claims against any of the Defendants’ Releasces.

(b) Without further action by anyone, and subject to paragraph 10 below, upon
the Effective Date of the Settlement, Defendants, on behalf of themselves, and their respective
legal representatives, heirs, executors, administrators, estates, predecessors, successors,
predecessors-in-interest, successors-in-interest, and assigns, and any person or entity acting for or
on behalf of, or claiming under, any of them, and each of them, in their respective capacities as
such, shall be deemed to have, and by operation of law and of this Judgment shall have, fully,
finally, and forever compromised, settled, released, resolved, relinquished, waived, and discharged
each and every Released Defendants’ Claim against Lead Plaintiff and the Plaintiffs’ Releasees,
and shall forever be barred and enjoined from prosecuting any or all of the Released Defendants’
Claims against any of the Plaintiffs’ Releasees. This Release shall not apply to the person listed

on Exhibit 1 hereto.
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10. Notwithstanding paragraphs 9(a) — (b) above, nothing in this Judgment shall bar
any action by any of the Parties to enforce or effectuate the terms of the Stipulation or this
Judgment.

11. Rule 11 Findings —- The Court finds and concludes that the Parties and their
respective counsel have complied in all respects with the requirements of Rule 11 of the Federal
Rules of Civil Procedure in connection with the institution, prosecution, defense, and settlement
of the Action.

12. No Admissions — Neither this Judgment, the Settlement (whether or not
consummated), the Stipulation, including the exhibits thereto and the Plan of Allocation contained
thercin (or any other plan of allocation that may be approved by the Court), the negotiations leading
to the execution of the Stipulation, nor any proceedings taken pursuant to or in connection with
the Stipulation and/or approval of the Settlement (including any arguments proffered in connection
therewith):

(a) shall be offered against any of the Defendants’ Releasecs as evidence of, or
construed as, or deemed to be evidence of, any presumption, concession, or admission by
any of the Defendants’ Releasees with respect to the truth of any fact alleged by Lead
Plaintiff or the validity of any claim that was or could have been asserted or the deficiency
of any defense that has been or could have been asserted in this Action or in any other
litigation, or of any liability, negligence, fault, or other wrongdoing of any kind of any of
the Defendants’ Releasees or in any way referred to for any other reason as against any of
the Defendants’ Releasees, in any arbitration proceeding or other civil, criminal, or
administrative action or proceeding, other than such proceedings as may be necessary to

effectuate the provisions of the Stipulation;
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(b) shall be offered against any of the Plaintiffs’ Releasees, as evidence of, or
construed as, or deemed to be evidence of, any presumption, concession or admission by
any of the Plaintiffs’ Releasees that any of their claims are without merit, that any of the
Defendants’ Releasees had meritorious defenses, or that damages recoverable under the
Complaint would not have exceeded the Settlement Amount or with respect to any liability,
negligence, fault, or wrongdoing of any kind, or in any way referred to for any other reason
as against any of the Plaintiffs’ Releasecs, in any arbitration proceeding or other civil,
criminal, or administrative action or proceeding, other than such proceedings as may be
necessary to effectuate the provisions of the Stipulation; or

(c) shall be construed against any of the Releasces as an admission, concession,
or presumption that the consideration to be given under the Settlement represents the
amount which could be or would have been recovered after trial;

provided, however, that the Parties and the Releasees and their respective counsel may refer to this
Judgment and the Stipulation to effectuate the protections from liability granted hereunder and
thereunder or otherwise to enforce the terms of the Settlement.

13. Retention of Jurisdiction — Without affecting the finality of this Judgment in any
way, this Court retains continuing and exclusive jurisdiction over: (a) the Parties for purposes of
the administration, interpretation, implementation, and enforcement of the Settlement; (b) the
disposition of the Settlement Fund; (c) any motion for an award of attorneys’ fees and/or Litigation
Expenses by Lead Counsel in the Action that will be paid from the Settlement Fund; (d) any motion

to approve the Plan of Allocation; (e) any motion to approve the Class Distribution Order; and

(f) the Class Members, for all matters relating to the Action.
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14. Separate orders shall be entered regarding approval of a plan of allocation and the
motion of Lead Counsel for attorneys’ fees and Litigation Expenses. Such orders, or any appeal
from any order relating thereto or reversal or modification thereof, shall in no way affect or delay
the finality of this Judgment and shall not affect or delay the Effective Date of the Settlement.

15. Modification of the Stipulation — Without further approval from the Court, Lead
Plaintiff and Defendants are hereby authorized to agree to and adopt such amendments or
modifications of the Stipulation or any exhibits attached thereto to effectuate the Settlement that:
(a) are not materially inconsistent with this Judgment; and (b) do not materially limit the rights of
Class Members in connection with the Settlement. Without further order of the Court, Lead
Plaintiff and Defendants may agree to reasonable extensions of time to carry out any provisions of
the Settlement.

16. Termination of Settlement — If (a) the Settlement is terminated as provided in the
Stipulation or the Supplemental Agreement or (b) the Effective Date of the Settlement otherwise
fails to occur, then this Judgment shall be vacated and rendered null and void, and shall be of no
further force and effect, except as otherwise provided by the Stipulation, and this Judgment shall
be without prejudice to the rights of Lead Plaintiff, the other Class Members, and Defendants, and
the Parties shall revert to their respective positions in the Action as of November 19, 2020, as
provided in the Stipulation.

17. Entry of Final Judgment - There is no just reason to delay the entry of this
Judgment as a final judgment in this Action. Accordingly, the Clerk of the Court is expressly

directed to immediately enter this final Judgment in this Action.
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SO ORDERED this 2&/ _ dayof hag , 2021.

Anthony J. Trenga

  

 

   

The Honorable y J. Trenga
United State# District Judge
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